Case 2:14-cv-02208-JPM-cgc Document 2 Filed 03/26/14 Page 1 of 3                  PageID 25



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DISTRICT

MICHAEL A. BRADY                                   )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )      CASE NO.
                                                   )
HUMANA INSURANCE COMPANY AND                       )
BLUE CROSS BLUE SHIELD                             )
HEALTHCARE PLAN OF GEORGIA, INC                    )
                                                   )
       Defendant.                                  )



                                   NOTICE OF FILING



       Comes Defendant Blue Cross Blue Shield Healthcare Plan of Georgia, Inc. (hereinafter

"BCBSHP", by and through counsel, and herby gives notice that the Notice of Removal to the

Clerk of the Court for Shelby County, General Sessions Court, attached hereto as Exhibit 1, was

mailed to said court on March 26, 2014.
Case 2:14-cv-02208-JPM-cgc Document 2 Filed 03/26/14 Page 2 of 3       PageID 26



                                  Respectfully submitted,

                                  NELSON MULLINS RILEY &
                                  SCARBOROUGH, LLP



                                  BY:    s/James P. Catalano
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                                         Shield Healthcare Plan of Georgia, Inc.




                                     2
Case 2:14-cv-02208-JPM-cgc Document 2 Filed 03/26/14 Page 3 of 3                        PageID 27



                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney, do hereby certify that the foregoing document has been
served upon all counsel of record for the parties at interest in this cause by electronic notification
through the Court's CM/ECF System and/or U.S. Mail, postage prepaid to:


                                       Ivan D. Harris, Jr.
                                       352 Poplar View Lane East
                                       Collierville, Tennessee 38017

                                       Errol J. King, Jr.
                                       Baker Donelson
                                       Chase North Tower
                                       450 Laurel Street
                                       20th Floor
                                       Baton Rouge, LA 70801


       This the 26th day of March, 2014.


                                                      s/James P. Catalano
                                                      JAMES P. CATALANO




                                                  3
